     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 1 of 25




 1   David A. Chami, AZ #027585
     PRICE LAW GROUP, APC
 2   1204 E. Baseline Rd., Ste 102
 3   Tempe, AZ 85283
     P: 866-881-2133
 4   F: 866-401-1457
 5   david@pricelawgroup.com

 6   Attorney for Plaintiff

 7                            IN THE UNITED STATES DISTRICT COURT

 8                                FOR THE DISTRICT OF ARIZONA

 9
      MUSSALINA MUHAYMIN as Personal
10    Representative of the Estate of
11    MUHAMMAD ABDUL MUHAYMIN                    Case No. CV-17-04565-PHX-SPL
      JR.,
12
                    Plaintiff,                   FIRST AMENDED COMPLAINT
13
                                                 JURY TRIAL DEMANDED
14    v.
15
      CITY OF PHOENIX, an Arizona
16    Municipal Corporation; ANTONIO
      TARANGO; Officer OSWALD
17    GRENIER; Officer KEVIN McGOWAN;
18    Officer JASON HOBE; Officer
      RONALDO CANILAO; Officer DAVID
19    HEAD; Officer SUSAN HEIMBINGER;
20    Officer JAMES CLARK; Officer DENNIS
      LEROUS; Officer RYAN NIELSON;
21    Officer STEVEN WONG; and DOE
22    Supervisors 1-5,

23                  Defendants.
24
25                               FIRST AMENDED COMPLAINT

26          Plaintiff, MUSSALINA MUHAYMIN as Personal Representative of the Estate of

27   MUHAMMAD ABDUL MUHAYMIN JR., brings this wrongful death and survival action

28   (A.R.S. §§ 12-611, et seq. and 14-3110) pursuant to 42 U.S.C. §§ 1981, 1983, and 1988,
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 2 of 25




 1   and Title II of the Americans with Disabilities Act (ADA), as well as various state law

 2   claims, against Defendants, CITY OF PHOENIX, an Arizona Municipal Corporation;

 3   ANTONIO TARANGO; Officer OSWALD GRENIER; Officer KEVIN McGOWAN;

 4   Officer JASON HOBE; Officer RONALDO CANILAO; Officer DAVID HEAD; Officer

 5   SUSAN HEIMBINGER; Officer JAMES CLARK; Officer DENNIS LEROUS; Officer

 6   RYAN NIELSON; Officer STEVEN WONG; and DOE Supervisors 1-5, as follows:

 7                                 JURISDICTION AND VENUE

 8          1.      This action arises under the United States Constitution and the laws of the

 9   United States and is brought pursuant to 42 U.S.C. §§ 1981, 1983, and 1988, and Title II

10   of the Americans with Disabilities Act (ADA). The jurisdiction of this Court is invoked

11   pursuant to 28 U.S.C. §§ 1331 and 1343.

12          2.      Plaintiff further invokes this Court’s supplemental jurisdiction, pursuant to

13   28 U.S.C. § 1367, over any and all state law claims and as against all parties that are so

14   related to claims in this action within the original jurisdiction of this Court that they form

15   part of the same case or controversy.

16          3.      Venue is proper in this District under 28 U.S.C. 1391(b) in that the parties

17   reside, or at the time the events took place, resided in this judicial district and the events

18   giving rise to the Plaintiff’s claims occurred in this judicial district.

19                                              PARTIES

20          4.      The decedent, MUHAMMAD ABDUL MUHAYMIN JR. (hereinafter

21   “MUHAYMIN” or “decedent”), at all relevant times, was a resident of Maricopa County,

22   Arizona.

23          5.      The death of MUHAYMIN, at the hands of Defendants Officers, occurred in

24   Maricopa County, Arizona.

25          6.      Plaintiff, MUSSALINA MUHAYMIN, was appointed as the Personal

26   Representative of the Estate of the decedent, by the Probate Division of the Maricopa

27   County Superior Court of Arizona on October 26, 2017.

28          7.      Plaintiff, MUSSALINA MUHAYMIN, is a resident of Maricopa County,



                                                     2
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 3 of 25




 1   Arizona and the sister of the decedent.

 2          8.     In her capacity as the Personal Representative of the Estate of MUHAYMIN,

 3   Plaintiff seeks damages pursuant to the Arizona wrongful death and survival statutes,

 4   codified in A.R.S. §§ 12-611, et seq., and 14-3110 for each and every claim listed herein,

 5   on behalf of the Estate of MUHAYMIN and on behalf of his surviving next of kin. Plaintiff

 6   further seeks damages recoverable pursuant to 42 U.S.C. §§ 1981, 1983, 1988, and Title II

 7   of the Americans with Disabilities Act (ADA) for any and all Constitutional and Federal

 8   claims.

 9          9.     Defendant Officers, at all relevant times, were duly appointed officers

10   employed by the CITY OF PHOENIX Police Department, acting within the scope of their

11   employment with the CITY OF PHOENIX and under the color of State Law. The

12   individual officers are being sued in their individual and official capacities: OSWALD

13   GRENIER, KEVIN McGOWAN, JASON HOBE, RONALDO CANILAO, DAVID

14   HEAD, SUSAN HEIMBINGER, JAMES CLARK, DENNIS LEROUS, RYAN

15   NIELSON, and STEVEN WONG (hereinafter “Defendant Officers”).

16          10.    Defendant DOE SUPERVISORS 1-5 are being sued in their individual and

17   official capacities for failing to properly train, supervise, and hold accountable the

18   individual defendants. DOES SUPERVISORS 1-5 are persons whose names are presently

19   unknown to Plaintiff. When the true names of DOE SUPERVISORS 1-5 become known,

20   Plaintiff will move to amend this Complaint.

21          11.    Defendant, ANTONIO TARANGO (hereinafter “TARANGO”), at all

22   relevant times, was an employee of the CITY OF PHOENIX Parks Department, acting

23   within the scope of his employment with the CITY OF PHOENIX. This individual

24   defendant is being sued in his individual and official capacity.

25          12.    Defendant, CITY OF PHOENIX, a municipality duly incorporated under the

26   laws of the State of Arizona, is the employer and principal of the individual Defendant

27   Officers, DOE SUPERVISORS 1-5, and Defendant TARANGO (the “individual

28   defendants”). At all times relevant hereto, the CITY OF PHOENIX employed the



                                                  3
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 4 of 25




 1   individual defendants. The CITY OF PHOENIX is responsible for the policies, practices,

 2   and customs of its Police Department and Parks Department.

 3                                       NOTICE OF CLAIM

 4          13.    Plaintiff timely filed a Notice of Claim pursuant to A.R.S. § 12-821.01,

 5   setting forth the facts underlying Plaintiff’s claims against the Defendants named herein.

 6          14.    More than sixty days has passed since the filing of the Notice of Claim, no

 7   answer has been received by Plaintiff, and no compensation has been offered by

 8   Defendants in response to this claim.

 9          15.    This action has been commenced within one year of the date of the

10   occurrence giving rise to this Complaint.

11                           FACTS COMMON TO ALL COUNTS

12                               The Decedent & His Service Dog

13          1.     At the time of his death, MUHAYMIN was a 43-year-old man suffering from

14   Post-Traumatic Stress Disorder, Acute Claustrophobia, and Schizophrenia.

15          2.     In order to alleviate the symptoms of his mental disabilities, he carried a

16   service dog named “Chiquita” with him.

17                               The Community Center Incident

18          3.     On January 4, 2017, MUHAYMIN was at the Maryvale Community Center

19   with his service dog, “Chiquita.”

20          4.     MUHAYMIN attempted to enter the public men’s restroom facilities.

21          5.     Defendant TARANGO denied access to MUHAYMIN because he was

22   carrying his service dog with him.

23          6.     TARANGO, in an effort to deny MUHAYMIN access to the bathroom,

24   intentionally and forcibly stepped in MUHAYMIN’s path and bumped him away from the

25   entrance.

26                                  The False Report to Police

27          7.     After the assault by TARANGO on MUHAYMIN, the Phoenix Police

28   received a call regarding an “assault.”



                                                  4
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 5 of 25




 1          8.     The call to the Phoenix Police falsely alleged that MUHAYMIN had entered

 2   the Community Center and assaulted an employee.

 3          9.     The Defendant Officers responded to the call and arrived at the scene shortly

 4   thereafter.

 5          10.    Upon information and belief, the initial responding officer, Defendant

 6   Officer OSWALD GRENIER (“Officer GRENIER”), asked TARANGO if MUHAYMIN

 7   had been removed from the premises.

 8          11.    Upon learning that MUHAYMIN was still at the Community Center, Officer

 9   GRENIER approached MUHAYMIN.

10          12.    Without regard for the federal or state laws specifically prohibiting

11   discrimination or other proof that an animal has been certified, trained, or licensed as a

12   service animal, Officer GRENIER asked MUHAYMIN to see his dog’s documentation.

13          13.    MUHAYMIN pleaded with GRENIER to allow him to use the restroom.

14          14.    GRENIER refused to allow MUHAYMIN to enter the restroom until

15   MUHAYMIN provided his personal information.

16          15.    A second officer then approached MUHAYMIN, in a threatening and

17   aggressive matter escalating tensions as he shouted at MUHAYMIN.

18          16.    After several conversations discussing what had transpired between

19   TARANGO and MUHYAMIN before the police arrived on scene, TARANGO admitted

20   that MUHAYMIN had not in fact assaulted him.

21          17.    Defendant Officers eventually allowed MUHAYMIN to use the restroom

22   after he gave them his identification information.

23          18.    TARANGO, in the presence of Defendant Officers acknowledged that

24   MUHAYMIN’S service dog “Chiquita” was well-behaved.

25          19.    While MUHAYMIN used the restroom, Defendant Officers and TARANGO

26   began forming a plan to ban MUHAYMIN from the community center without cause.

27          20.    The Defendants discussed arresting MUHAYMIN if he returned to the

28   community center.



                                                  5
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 6 of 25




 1                             The Arrest & Death of the Decedent

 2          21.    Upon information and belief, while MUHAYMIN was using the restroom,

 3   Defendant Officers ran a check on MUHAYMIN in their database.

 4          22.    Defendant Officers then escorted MUHAYMIN and “Chiquita” out of the

 5   building, and, as soon as they stepped outside, ordered MUHAYMIN to “Stop.”

 6          23.    Defendant Officers explained to MUHAYMIN that he had an outstanding

 7   warrant and was being arrested.

 8          24.    MUHAYMIN asked several times what the warrant was for.

 9          25.    Defendant Officers ignored his requests for information regarding the

10   outstanding warrant.

11          26.    Defendant Officers then told MUHAYMIN to put his dog down.

12          27.    MUHAYMIN explained that he did not have anyone to watch her.

13          28.    MUHAYMIN then asked Defendant Officers to call his sister, who was his

14   legal guardian.

15          29.    Defendant Officers told MUHAYMIN they would not call his sister and that

16   he should just let the dog go.

17          30.    Defendant Officers warned MUHAYMIN that the dog would get hurt if he

18   didn’t let her go.

19          31.    Defendant Officers refused to listen to MUHAYMIN’s requests, knocked his

20   service dog out of his arms and forced him to the ground.

21          32.     Throughout the altercation, MUHAYMIN can be heard yelling, “Okay!”

22   and “I can’t breathe” as multiple Defendant Officers placed the weight of their bodies on

23   his head, back, arms, and legs.

24          33.    After wrestling MUHAYMIN to the ground, one of the Defendant Officers

25   placed his knee on MUHAYMIN’s head while another Defendant Officer placed him in

26   handcuffs.

27          34.    After placing MUHAYMIN in handcuffs, Defendant Officers took

28   MUHAYMIN out to the parking lot towards one of the police SUVs.



                                                 6
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 7 of 25




 1          35.    At the vehicle, Defendant Officers again wrestle MUHAYMIN, who had

 2   already been restrained, back down to the ground.

 3          36.    Several Defendant Officers placed their weight on top of MUHAYMIN,

 4   while one Defendant Officer requested “hobbles” in order to restrict MUHAYMIN’s

 5   ability to walk.

 6          37.    Upon information and belief, due to the excessive force used by Defendant

 7   Officers, MUHAYMIN went into cardiac arrest and began vomiting.

 8          38.    Thereafter, Defendant Officers were unable to find MUHAYMIN’s pulse.

 9          39.    After MUHAYMIN was deceased, one of the Defendant Officers began

10   CPR.

11                                      FEDERAL CLAIMS
12
                                    COUNT I – 42 U.S.C. § 1983
13                                     EXCESSIVE FORCE
14          40.    Plaintiff incorporates by reference all other paragraphs in this Complaint as
15   though fully alleged herein.
16          41.    At all relevant times, MUHAYMIN enjoyed and possessed a right under the
17   Fourth and Fourteenth Amendments to the United States Constitution to be free from
18   unreasonable seizure and the use of excessive, unreasonable, and unjustified force.
19          42.    At all relevant times, the individual Defendant Officers and/or DOE
20   SUPERVISORS 1-5 were acting under the color of state law in their capacity as Phoenix
21   police officers, and their acts or omissions were conducted within the scope of their official
22   duties or employment.
23          43.    Defendant Officers and/or DOE SUPERVISORS 1-5 applied unreasonable,
24   excessive, and conscious-shocking physical force to the person of MUHAYMIN, causing
25   his death, as set forth above, without legal justification or excuse.
26          44.    Defendants’ actions and use of deadly force were objectively unreasonable
27   in light of the facts and circumstances confronting them at the time and violated the
28   Constitutional rights of MUHAYMIN.


                                                   7
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 8 of 25




 1             45.   Defendants engaged in the conduct described in this Complaint willfully,

 2   maliciously, in bad faith, in reckless disregard of MUHAYMIN’s federally protected

 3   rights.

 4             46.   As a result of Defendant Officers and/or DOE SUPERVISORS 1-5’s
 5   unlawful conduct, MUHAYMIN’s estate and his statutory beneficiaries suffered harm.
 6
 7                                  COUNT II – 42 U.S.C. § 1983
                                  FAILURE TO PROTECT/INTERVENE
 8
 9             47.   Plaintiff incorporates by reference all other paragraphs in this Complaint as

10   though fully alleged herein.

11             48.   At all relevant times, MUHAYMIN enjoyed and possessed a right under the
12   Fourth and Fourteenth Amendments to the United States Constitution to be free from
13   unreasonable seizure and the use of excessive, unreasonable, and unjustified force.
14             49.   At all relevant times, the individual Defendant Officers were acting under
15   the color of state law in their capacity as Phoenix police officers, and their acts or omissions
16   were conducted within the scope of their official duties or employment.
17             50.   Defendant Officers and/or DOE SUPERVISORS 1-5 applied unreasonable,
18   excessive, and conscious-shocking physical force to the person of MUHAYMIN, causing
19   his death, as set forth above, without legal justification or excuse.
20             51.   Defendants’ actions and use of deadly force were objectively unreasonable
21   in light of the facts and circumstances confronting them at the time and violated the
22   Constitutional rights of MUHAYMIN.
23             52.   Defendant Officers and/or DOE SUPERVISORS 1-5, and all of them, knew
24   or should have known that they had a duty to protect MUHAYMIN from the application
25   of unreasonable force to his person which was likely to cause substantial harm, and did, in
26   fact, result in substantial harm, including his death.
27             53.   None of the Defendant Officers and/or DOE SUPERVISORS 1-5 took
28   reasonable steps to protect MUHAYMIN from the objectively unreasonable and



                                                    8
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 9 of 25




 1   conscience shocking excessive force of other Defendant Officers and/or DOE

 2   SUPERVISORS 1-5 or from the excessive force of later responding officers despite being

 3   in a position to do so. They are each therefore liable for the injuries and damages resulting

 4   from the objectively unreasonable and conscience shocking force of each other Defendant

 5   Officer and/or DOE SUPERVISOR.

 6             54.   Defendants engaged in the conduct described in this Complaint willfully,

 7   maliciously, in bad faith, in reckless disregard of MUHAYMIN’s federally protected

 8   rights.

 9             55.   As a result of Defendants’ failure to protect MUHAYMIN from the

10   application of unreasonable force and/or failure to take reasonable steps to prevent the

11   harm from occurring, MUHAYMIN’s estate and his statutory beneficiaries suffered

12   harm.

13                                    COUNT III – Title II ADA
14                                       DISCRIMINATION

15             56.   Plaintiff incorporates by reference all other paragraphs in this Complaint as
16   though fully alleged herein.
17             57.   Title II of the Americans with Disabilities Act, 42 U.S.C. § 12131, et seq.
18   (“ADA”), prohibits a public entity from discriminating against disabled persons in the
19   provision of the entity’s services, programs, and activities.
20             58.   The Maryvale Community Center is a public entity within the meaning of
21   the ADA.
22             59.   At all relevant times, MUHAYMIN was disabled within the meaning of the
23   ADA.
24             60.   To alleviate the symptoms of his mental impairment, MUHAYMIN carried
25   a service dog named “Chiquita.”
26             61.   At all relevant times, Defendant TARANGO was acting under color of state
27   law as an employee of Defendant CITY OF PHOENIX, specifically, the Maryvale
28   Community Center, and his acts or omissions were conducted within the scope of his



                                                   9
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 10 of 25




 1   official duties or employment.

 2          62.      At all relevant times, the Defendant Officers and/or DOE SUPERVISORS

 3   1-5 were acting under the color of state law in their capacity as Phoenix police officers,

 4   and their acts or omissions were conducted within the scope of their official duties or

 5   employment.

 6          63.      Under Title II of the ADA, Defendant TARANGO, the Defendant Officers,

 7   and/or DOE SUPERVISORS 1-5, were prohibited from discriminating against

 8   MUHAYMIN on the basis of his disability and were required to allow MUHAYMIN to

 9   enter and use the community center with his service dog without requiring proof that his

10   dig was a certified or otherwise licensed service animal.

11          64.      Defendant   TARANGO,        the   Defendant    Officers,   and/or   DOE

12   SUPERVISORS 1-5 knew or should have known that they had a duty to accommodate

13   MUHAYMIN under the ADA after they were made aware that “Chiquita” was a service

14   dog used by MUHAYMIN to alleviate his mental disabilities.

15          65.      Nonetheless, Defendant TARANGO discriminated against MUHAYMIN

16   when Defendant TARANGO attempted to force MUHAYMIN to leave the Maryvale

17   Community Center because of his dog and falsely reported to the police that MUHAYMIN

18   had assaulted him in an attempt to force MUHAYMIN to leave the Community Center.

19          66.      Nonetheless, Defendant Officers and/or DOE SUPERVISORS 1-5

20   discriminated against MUHAYMIN when they required proof that MUHAYMIN’s dog

21   was a certified or licensed service animal in violation of ADA § 32.206(c)(6), and forced

22   MUHAYMIN to leave the Maryvale Community Center because of his dog.

23          67.      Defendant CITY OF PHOENIX breached its obligations under the ADA by,

24   among other things, failing to train its employees and police officers to deal with

25   individuals with disabilities and the use of service dogs, and/or failing to implement

26   policies with respect to dealing with individuals with mental disabilities and the use of

27   service dogs.

28          68.      As a direct and proximate result of Defendant TARANGO, the Defendant



                                                 10
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 11 of 25




 1   Officers, Defendant DOE SUPERVISORS 1-5, and Defendant CITY OF PHOENIX’s

 2   breach of MUHAYMIN’s statutory rights as described herein, MUHAYMIN was killed.

 3   Both MUHAYMIN’s estate, and the statutory beneficiaries and family of MUHAYMIN,

 4   have sustained economic and psychological injuries and loss.

 5          69.    In addition to the monetary damages sought herein, Plaintiff also seeks

 6   injunctive relief compelling Defendant CITY OF PHOENIX to provide the training

 7   required by law so that the individual defendants are better equipped to deal with mentally

 8   disabled individuals and the use of service dogs in the future.

 9                                  COUNT IV – 42 U.S.C. § 1983
10                                    SUPERVISOR LIABILITY

11          70.    Plaintiff incorporates by reference all other paragraphs in this Complaint as
12   though fully alleged herein.
13          71.    At all relevant times, the Defendant DOE SUPERVISORS 1-5 were acting
14   under the color of state law, and their acts or omissions were conducted within the scope
15   of their official duties or employment.
16          72.    The acts and omissions of the individual defendants, as set forth above,
17   deprived MUHAYMIN of his Constitutional and federally protected rights and ultimately
18   caused his death.
19          73.    Defendant DOE SUPERVISORS 1-5 failed to prevent the individual
20   defendants from – and/or otherwise directed them to – use unreasonable, excessive and/or
21   deadly force where not objectively reasonable or necessary, refuse to protect MUHAYMIN
22   from the application of unreasonable, excessive and/or deadly force at the hands of their
23   fellow officers, and disregard the federally mandated requirement not to discriminate
24   against individuals with disabilities and/or require proof that an animal is a certified or
25   licensed service animal.
26          74.    Defendant DOE SUPERVISORS 1-5’s failure to prevent the individual
27   defendants from depriving MUHAYMIN of his Constitutional and federally protected
28   rights was so closely related to the deprivation of MUHAYMIN’s rights as to be the



                                                  11
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 12 of 25




 1   moving force that caused his death.

 2          75.    As a result of Defendant DOE SUPERVISORS 1-5’s conduct,

 3   MUHAYMIN’s estate and his statutory beneficiaries suffered harm.

 4                                  COUNT V – 42 U.S.C. § 1983
 5                                    MUNICIPAL LIABILITY
                                       [FAILURE TO TRAIN]
 6
            76.    Plaintiff incorporates by reference all other paragraphs in this Complaint as
 7
     though fully alleged herein.
 8
            77.    At all relevant times, the individual defendants, including Defendant
 9
     TARANGO, the Defendant Officers and/or DOE SUPERVISORS 1-5, were acting under
10
     the color of state law in their capacity as Phoenix police officers and/or City employees,
11
     and their acts or omissions were conducted within the scope of their official duties or
12
     employment.
13
            78.    The acts or omissions of the individual defendants, including Defendant
14
     TARANGO, the Defendant Officers and/or DOE SUPERVISORS 1-5, as described above,
15
     deprived MUHAYMIN of his federally protected rights and ultimately caused his death.
16
            79.    Defendant CITY OF PHOENIX has the authority and responsibility to
17
     establish policy for the City’s Police and its Community Center employees, to train and
18
     oversee operations of the Police and its Community Center employees and the services
19
     provided by them, and to evaluate, certify, and maintain the Police Department and the
20
     Community Center’s compliance with applicable standards.
21
            80.    The training policies of Defendant CITY OF PHOENIX, including the
22
     Phoenix Police Department and the Community Center, were not adequate to prevent the
23
     gross violation of MUHAYMIN’s federally protected rights, which led to his death.
24
            81.    Defendant CITY OF PHOENIX, including the Phoenix Police Department
25
     and the Community Center, were deliberately indifferent to the substantial risk that its
26
     policies were inadequate to prevent violations by its employees and/or were otherwise
27
     deliberately indifferent to the known or obvious consequences of its failure to train its
28



                                                 12
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 13 of 25




 1   police officers and employees adequately.

 2          82.    The failure of Defendant CITY OF PHOENIX, including the Phoenix Police

 3   Department and the Community Center, to prevent violations of law by its employees

 4   and/or to provide adequate training, caused the deprivation of MUHAYMIN’s rights and

 5   ultimately his death; that is, Defendant CITY OF PHOENIX’s failure to prevent violations

 6   of law by its employee and/or to train those employees is so closely related to the

 7   deprivation of MUHAYMIN’s rights as to be the moving force that caused his death.

 8                            COUNT VI – 42 U.S.C. § 1983
 9                               MUNICIPAL LIABILITY
                     [UNLAWFUL POLICIES, PRACTICES, AND/OR CUSTOMS]
10
            83.    Plaintiff incorporates by reference all other paragraphs in this Complaint as
11
     though fully alleged herein.
12
            84.    At all relevant times, the individual defendants, including Defendant
13
     TARANGO, the Defendant Officers and/or DOE SUPERVISORS 1-5, were acting under
14
     the color of state law in their capacity as Phoenix police officers and/or City employees,
15
     and their acts or omissions were conducted within the scope of their official duties or
16
     employment.
17
            85.    The acts or omissions of the individual defendants, including Defendant
18
     TARANGO, the Defendant Officers and/or DOE SUPERVISORS 1-5, as described above,
19
     deprived MUHAYMIN of his federally protected rights and ultimately caused his death.
20
            86.    Defendant CITY OF PHOENIX has the authority and responsibility to
21
     establish policy for the City’s Police and its Community Center employees, to train and
22
     oversee operations of the Police and its Community Center employees and the services
23
     provided by them, and to evaluate, certify, and maintain the Police Department and the
24
     Community Center’s compliance with applicable standards.
25
            87.    Upon information and belief, at the time of MUHAYMIN’s death, the CITY
26
     OF PHOENIX had a policy, practice and/or custom of ignoring misconduct by officers
27
     despite knowledge of the violations by policy-making officials who knew or had reason to
28



                                                 13
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 14 of 25




 1   know of the violations.

 2            88.    Upon information and belief, Defendant CITY OF PHOENIX’s widespread

 3   policy, practice and/or custom caused the deprivation of MUHAYMIN’s rights by the

 4   individual Defendants; that is, Defendant CITY OF PHOENIX’s widespread policy,

 5   practice and/or custom is so closely related to the deprivation of MUHAYMIN’s rights as

 6   to be the moving force that caused MUHAYMIN’s death.

 7                                     STATE LAW CLAIMS
 8
                           COUNT VII – A.R.S. §§ 12-611 et seq., 14-3110
 9                          [WRONGFUL DEATH AND SURVIVAL ACTION]
10                             EXCESSIVE FORCE (A.R.S. § 13-410)

11            89.    Plaintiff incorporates by reference all other paragraphs in this Complaint as
12   though fully alleged herein.
13            90.    As described herein, Defendant Officers and/or DOE SUPERVISORS 1-5
14   intentionally    pinned    MUHAYMIN         down,    putting   unreasonable     pressure    on
15   MUHAYMIN’s head, back, arms and legs, after he was already restrained, causing his
16   death.
17            91.    Under ARS § 13-410, the use of deadly force by a peace officer against
18   another is justified only when the peace officer reasonably believes that it is necessary (1)
19   to defend himself or a third person from what the peace officer reasonably believes to be
20   the use or imminent use of deadly physical force; (2) to effect an arrest or prevent the
21   escape from custody of a person whom the peace officer reasonably believes (a) has
22   committed, attempted to commit, is committing or is attempting to commit a felony
23   involving the use or a threatened use of a deadly weapon, (b) is attempting to escape by
24   use of a deadly weapon, (c) through past or present conduct of the person which is known
25   by the peace officer that the person is likely to endanger human life or inflict serious bodily
26   injury to another unless apprehended without delay, or (d) is necessary to lawfully suppress
27   a riot if the person or another person participating in the riot is armed with a deadly weapon.
28            92.    None of the above situations applied, which would justify the use of deadly



                                                   14
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 15 of 25




 1   force.

 2            93.    Nonetheless, Defendant Officers and/or DOE SUPERVISORS 1-5 applied

 3   unreasonable excessive force to the person of MUHAYMIN, causing his death, as set forth

 4   above, without legal justification or excuse.

 5            94.    Defendants’ actions and use of deadly force, as described herein, were

 6   objectively unreasonable in light of the facts and circumstances confronting them at the

 7   time.

 8            95.    As a result of Defendants’ unlawful conduct, MUHAYMIN’s estate and his

 9   statutory beneficiaries suffered harm.

10                        COUNT VIII – A.R.S. §§ 12-611 et seq., 14-3110
11                         [WRONGFUL DEATH AND SURVIVAL ACTION]
                                          BATTERY
12
              96.    Plaintiff incorporates by reference all other paragraphs in this Complaint as
13
     though fully alleged herein.
14
              97.    As described herein, Defendant          TARANGO       intentionally denied
15
     MUHAYMIN access to the Community Center bathroom because of his service dog, by
16
     stepping in his path and bumping him away from the entrance, causing a harmful or
17
     offensive contact with MUHAYMIN.
18
              98.    As described herein, Defendant Officers and/or DOE SUPERVISORS 1-5
19
     intentionally    pinned    MUHAYMIN         down,    putting   unreasonable    pressure   on
20
     MUHAYMIN’s head, back, arms and legs, after he was already restrained, causing a
21
     harmful or offensive contact with MUHAYMIN. As a direct and proximate result of this
22
     harmful or offensive contact, MUYAMIN died.
23
              99.    Defendant TARANGO, Defendant Officers and/or DOE SUPERVISORS 1-
24
     5’s acts constituted a battery upon MUHAYMIN in that the above described bodily contact
25
     was intentional, unauthorized, or grossly offensive in nature.
26
              100.   The actions of Defendant TARANGO, Defendant Officers and/or DOE
27
     SUPERVISORS 1-5 were intentional, reckless, and unwarranted, and without any just
28



                                                     15
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 16 of 25




 1   cause or provocation.

 2          101.   As a direct and proximate result of Defendant TARANGO, Defendant

 3   Officers and/or DOE SUPERVISORS 1-5’s conduct, MUHAYMIN was subjected to great

 4   physical and emotional pain and humiliation, was deprived of his liberty, and was

 5   ultimately killed.

 6          102.   The conduct described in this Complaint was undertaken by Defendant

 7   TARANGO, Defendant Officers and/or DOE SUPERVISORS 1-5 within the scope of their

 8   employment and under color of law such that their employer, Defendant CITY OF

 9   PHOENIX, is vicariously liable for their actions.

10          103.   As a result of Defendants’ unlawful conduct, MUHAYMIN’s estate and his

11   statutory beneficiaries suffered harm.

12                          COUNT IX – A.R.S. §§ 12-611 et seq., 14-3110
                             [WRONGFUL DEATH AND SURVIVAL ACTION]
13                        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
14
            104.   Plaintiff incorporate by reference all other paragraphs in this Complaint as
15
     though fully alleged herein.
16
            105.   Defendant TARANGO’s conduct, in denying MUHAYMIN access to the
17
     Community Center bathroom because of his service dog, stepping in his path and bumping
18
     him away from the entrance, and making a false report to the police that MUHAYMIN had
19
     assaulted him in order to force MUHAYMIN to leave the Community Center, without
20
     provocation or justification, was extreme, outrageous and utterly intolerable in a civilized
21
     society; conduct which excessed all reasonable bounds of decency.
22
            106.   Defendant Officers and/or DOE SUPERVISORS 1-5’s conduct, in
23
     disregarding MYUHAYMIN’s pleas to get someone to watch his dog before placing him
24
     under arrest, threatening MNUHAYMIN, telling him his dog would “get hurt” if he did let
25
     her go, and pinning MUHAYMIN down, putting unreasonable pressure on MUHAYMIN’s
26
     head, back, arms and legs, after he was already restrained, without provocation or
27
     justification, was extreme, outrageous and utterly intolerable in a civilized society; conduct
28



                                                  16
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 17 of 25




 1   which excessed all reasonable bounds of decency.

 2          107.   Defendant TARANGO, Defendant Officers and/or DOE SUPERVISORS 1-

 3   5’s conduct, as described above, was intended to and did cause severe emotional distress

 4   to MUHAYMIN.

 5          108.   The conduct of Defendant TARANGO, Defendant Officers and/or DOE

 6   SUPERVISORS 1-5 was the direct and proximate cause of injury and damage to

 7   MUHAYMIN and violated MUHAYMIN’s statutory and common law rights as

 8   guaranteed by the laws and Constitution of the State of Arizona.

 9          109.   As a result of the foregoing, MUHAYMIN was deprived of his liberty, was

10   subjected to serious physical and emotional pain and suffering, and was ultimately killed.

11          110.   As a result of Defendants’ unlawful conduct, MUHAYMIN’s estate and his

12   statutory beneficiaries suffered harm.

13                      COUNT X – A.R.S. §§ 12-611 et seq., 14-3110
                         [WRONGFUL DEATH AND SURVIVAL ACTION]
14                     NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
15
            111.   Plaintiff incorporates by reference all other paragraphs in this Complaint as
16
     though fully alleged herein.
17
            112.   Defendant TARANGO’s conduct, in denying MUHAYMIN access to the
18
     Community Center bathroom because of his service dog, stepping in his path and bumping
19
     him away from the entrance, and making a false report to the police that MUHAYMIN had
20
     assaulted him in order to force MUHAYMIN to leave the Community Center, without
21
     provocation or justification, was careless and negligent as to the emotional health of
22
     MUHAYMIN, and caused severe emotional distress to MUHAYMIN.
23
            113.   Defendant Officers and/or DOE SUPERVISORS 1-5’s conduct, in
24
     disregarding MYUHAYMIN’s pleas to get someone to watch his dog before placing him
25
     under arrest, threatening MNUHAYMIN, telling him his dog would “get hurt” if he did let
26
     her go, and pinning MUHAYMIN down, putting unreasonable pressure on MUHAYMIN’s
27
     head, back, arms and legs, after he was already restrained, without provocation or
28



                                                 17
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 18 of 25




 1   justification, was careless and negligent as to the emotional health of MUHAYMIN, and

 2   caused severe emotional distress to MUHAYMIN.

 3          114.   The conduct of Defendant TARANGO, Defendant Officers and/or DOE

 4   SUPERVISORS 1-5 was the direct and proximate cause of injury and damage to

 5   MUHAYMIN and violated MUHAYMIN’s statutory and common law rights as

 6   guaranteed by the laws and Constitution of the State of Arizona.

 7          115.   As a result of the foregoing, MUHAYMIN was deprived of his liberty, was

 8   subjected to serious physical and emotional pain and suffering, and was ultimately killed.

 9          116.   As a result of Defendants’ unlawful conduct, MUHAYMIN’s estate and his

10   statutory beneficiaries suffered harm.

11                         COUNT XI – A.R.S. §§ 12-611 et seq., 14-3110
12                          [WRONGFUL DEATH AND SURVIVAL ACTION]
                                        NEGLIGENCE
13
            117.   Plaintiff incorporates by reference all other paragraphs in this Complaint as
14
     though fully alleged herein.
15
            118.   Defendant Officers and/or DOE SUPERVISORS 1-5, while acting as agents
16
     and employees for Defendant CITY OF PHOENIX, owed a duty to MUHAYMIN to
17
     perform their duties as officers of the law without the use of excessive force.
18
            119.   Defendant TARANGO, Defendant Officers and/or DOE SUPERVISORS 1-
19
     5, while acting as agents and employees for Defendant CITY OF PHOENIX, owed a duty
20
     to MUHAYMIN not to discriminate against him in the provision of public services because
21
     of his service dog.
22
            120.   Defendant Officers and/or DOE SUPERVISORS 1-5’s use of force upon
23
     MUHAYMIN when they had no lawful authority to use excessive and/or deadly force
24
     against MUHAYMIN, constitutes negligence for which Defendant Officers and/or DOE
25
     SUPERVISORS 1-5 are individually liable.
26
            121.   Defendant TARANGO, Defendant Officers and/or DOE SUPERVISORS 1-
27
     5’s actions, in forcing MUHAYMIN to leave the Community Center because of his service
28



                                                  18
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 19 of 25




 1   dog or provide proof that his service dog was otherwise licensed or certified, constitutes

 2   negligence for which Defendant TARANGO, Defendant Officers and/or DOE

 3   SUPERVISORS 1-5 are individually liable.

 4          122.   In taking the actions as described above, Defendant TARANGO, Defendant

 5   Officers and/or DOE SUPERVISORS 1-5 breached their duty to refrain from such

 6   unreasonable and indifferent conduct.

 7          123.   As a direct and proximate result of Defendant TARANGO, Defendant

 8   Officers and/or DOE SUPERVISORS 1-5’s conduct, MUHAYMIN was subjected to great

 9   physical and emotional pain and humiliation, was deprived of his liberty, and was

10   ultimately killed.

11          124.   The conduct described in this Complaint was undertaken by Defendants

12   within the scope of their employment and under color of law such that their employer,

13   Defendant CITY OF PHOENIX, is vicariously liable for their actions.

14          125.   As a result of Defendants’ unlawful conduct, MUHAYMIN’s estate and his

15   statutory beneficiaries suffered harm.

16                         COUNT XII – A.R.S. §§ 12-611 et seq., 14-3110
17                          [WRONGFUL DEATH AND SURVIVAL ACTION]
                                     GROSS NEGLIGENCE
18
            126.   Plaintiff incorporates by reference all other paragraphs in this Complaint as
19
     though fully alleged herein.
20
            127.   Defendant Officers and/or DOE SUPERVISORS 1-5, while acting as agents
21
     and employees for Defendant CITY OF PHOENIX, owed a duty to MUHAYMIN to
22
     perform their duties as officers of the law without the use of excessive force.
23
            128.   Defendant TARANGO, Defendant Officers and/or DOE SUPERVISORS 1-
24
     5, while acting as agents and employees for Defendant CITY OF PHOENIX, owed a duty
25
     to MUHAYMIN not to discriminate against him in the provision of public services because
26
     of his service dog.
27
            129.   Defendant Officers and/or DOE SUPERVISORS 1-5’s use of force upon
28



                                                  19
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 20 of 25




 1   MUHAYMIN when they had no lawful authority to use excessive and/or deadly force

 2   against MUHAYMIN constitutes reckless and/or gross negligence for which Defendant

 3   Officers and/or DOE SUPERVISORS 1-5 are individually liable.

 4          130.    Defendant TARANGO, Defendant Officers and/or DOE SUPERVISORS 1-

 5   5’s actions, in forcing MUHAYMIN to leave the Community Center because of his service

 6   dog or provide proof that his service dog was otherwise licensed or certified, constitutes

 7   reckless and/or gross negligence for which Defendant TARANGO and Defendant Officers

 8   are individual liable.

 9          131.    The actions of Defendant TARANGO, Defendant Officers and/or DOE

10   SUPERVISORS 1-5, as described above, were taken with such reckless disregard for the

11   life and safety of MUHAYMIN so as to be a conscious violation of MUHAYMIN’s rights

12   to life and liberty.

13          132.    As a direct and proximate result of Defendant TARANGO, Defendant

14   Officers and/or DOE SUPERVISORS 1-5’s conduct, MUHAYMIN was subjected to great

15   physical and emotional pain and humiliation, was deprived of his liberty, and was

16   ultimately killed.

17          133.    The conduct described in this Complaint was undertaken by Defendants

18   within the scope of their employment and under color of law such that their employer,

19   Defendant CITY OF PHOENIX, is vicariously liable for their actions.

20          134.    As a result of Defendants’ unlawful conduct, MUHAYMIN’s estate and his

21   statutory beneficiaries suffered harm.

22                 COUNT XIII – ARIZONA CIVIL RIGHTS ACT (“ACRA”)
23                                  DISCRIMINATION
            135.    Plaintiff incorporates by reference all other paragraphs in this Complaint as
24
     though fully alleged herein.
25
            136.    The Arizona Civil Rights Act, (“ACRA”), A.R.S. §§ 41-1492, et seq.,
26
     incorporates by reference the provisions of its analogous federal statute, the ADA.
27
            137.    The Maryvale Community Center is a public entity within the meaning of
28



                                                  20
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 21 of 25




 1   the ACRA, as incorporated by the ADA.

 2         138.      At all relevant times, MUHAYMIN was disabled within the meaning of the

 3   ACRA, as incorporated by the ADA.

 4         139.      To alleviate the symptoms of his mental impairment, MUHAYMIN carried

 5   a service dog named “Chiquita.”

 6         140.      To alleviate the symptoms of his mental impairment, MUHAYMIN carried

 7   a service dog named “Chiquita.”

 8         141.      At all relevant times, Defendant TARANGO was acting under color of state

 9   law as an employee of Defendant CITY OF PHOENIX, specifically, the Maryvale

10   Community Center, and his acts or omissions were conducted within the scope of his

11   official duties or employment.

12         142.      At all relevant times, the Defendant Officers and/or DOE SUPERVISORS

13   1-5 were acting under the color of state law in their capacity as Phoenix police officers,

14   and their acts or omissions were conducted within the scope of their official duties or

15   employment.

16         143.      Nonetheless, Defendant TARANGO discriminated against MUHAYMIN

17   when Defendant TARANGO attempted to force MUHAYMIN to leave the Maryvale

18   Community Center because of his dog and falsely reported to the police that MUHAYMIN

19   had assaulted him in an attempt to force MUHAYMIN to leave the Community Center.

20         144.      Nonetheless, Defendant Officers and/or DOE SUPERVISORS 1-5

21   discriminated against MUHAYMIN when they required proof that MUHAYMIN’s dog

22   was a certified or licensed service animal in violation of the ACRA and forced

23   MUHAYMIN to leave the Maryvale Community Center because of his dog.

24         145.      Defendant CITY OF PHOENIX breached its obligations under the ACRA

25   by, among other things, failing to train its employees and police officers to deal with

26   individuals with disabilities and the use of service dogs, and/or failing to implement

27   policies with respect to dealing with individuals with mental disabilities and the use of

28   service dogs.



                                                 21
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 22 of 25




 1          146.   As a direct and proximate result of Defendant TARANGO, the Defendant

 2   Officers, Defendant DOE SUPERVISORS 1-5, and Defendant CITY OF PHOENIX’s

 3   breach of MUHAYMIN’s statutory rights as described herein, MUHAYMIN was killed.

 4   Both MUHAYMIN’s estate, and the statutory beneficiaries and family of MUHAYMIN,

 5   have sustained economic and psychological injuries and loss.

 6          147.   In addition to the monetary damages sought herein, Plaintiff also seeks

 7   injunctive relief compelling Defendant CITY OF PHOENIX to provide the training

 8   required by law so that the individual defendants are better equipped to deal with mentally

 9   disabled individuals and the use of service dogs in the future.

10                    COUNT XIV – A.R.S. §§ 12-611 et seq., 14-3110
11                     [WRONGFUL DEATH AND SURVIVAL ACTION]
               NEGLIGENT HIRING, SUPERVISION, RETENTION, AND/OR TRAINING
12
            148.   Plaintiff incorporates by reference all other paragraphs in this Complaint as
13
     though fully alleged herein.
14
            149.   As described herein, CITY OF PHOENIX and/or DOE Supervisors 1-5 were
15
     negligent in their hiring, supervision, retention, and/or training of one or more Defendant
16
     Officers and Defendant TARANGO.
17
            150.   The acts and conduct of Defendant Officers and Defendant TARANGO as
18
     described in this Complaint were the direct and proximate cause of the injuries and
19
     damages to MUHAYMIN, and violated MUHAYMIN’s statutory and common law rights
20
     as guaranteed by the law and Constitution of the State of Arizona.
21
            151.   As a result of the conduct described herein, MUHAYMIN’s estate and his
22
     statutory beneficiaries suffered harm.
23
                                STATE AND FEDERAL CLAIM
24
25                                         COUNT XV
                                        CIVIL CONSPIRACY
26
            152.   Plaintiff incorporates by reference all other paragraphs in this Complaint as
27
     though fully alleged herein.
28



                                                  22
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 23 of 25




 1          153.   As described herein, DEFENDANTS, and each of them, including

 2   Defendant TARANGO and at least two Defendant Officers, agreed and conspired to violate

 3   MUHAYMIN’s statutory, common law, and Constitutional rights, and did in fact succeed

 4   in violating those rights.

 5          154.   Specifically, Defendant TARANGO and Defendant Officers can be heard

 6   and seen on video discussing their plan to have MUHAYMIN arrested and banned from

 7   the Community Center, despite having done nothing wrong.

 8          155.   In fact, one of the Defendant Officers has previously banned MUHAYMIN

 9   from entering other buildings in the City and can be heard saying he dealt with

10   MUHAYMIN at the Fry’s down the street.

11          156.   The Defendant Officers concocted this unlawful plan without input from

12   Defendant TARANGO, who went along with and agreed to the plan, despite Defendant

13   TARANGO’s admission to Defendant Officers that he had knowingly made a false report

14   regarding MUHAYMIN’s alleged unlawful conduct in the Community Center, as

15   described above, in direct violation of Ariz. Rev. Stat. Ann. § 13-2907.01.

16          157.   DEFENDANTS carried out said unlawful plan and conspiracy, by removing

17   MUHAYMIN from the Community Center, forcefully arresting MUHAYMIN for an

18   outstanding misdemeanor warrant (discovered only after the plan was fully realized), and

19   using such excessive and unlawful force in arresting MUHAYMIN that he lost his life,

20   effectively precluding him from entering the Community Center or any other establishment

21   in the City in the future.

22          158.   The plan, agreement, acts, and conduct of Defendant TARANGO and

23   Defendant Officers, as described in this Complaint, were the direct and proximate cause of

24   the injuries and damages to MUHAYMIN, and violated MUHAYMIN’s rights as

25   guaranteed by the United States Constitution, as well as the statutory and common law

26   rights as guaranteed by the law and Constitution of the State of Arizona.

27          159.   As a result of the conduct described herein, MUHAYMIN’s estate and his

28   statutory beneficiaries suffered harm.



                                                 23
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 24 of 25




 1                                   PRAYER FOR RELIEF

 2         WHEREFORE, the Plaintiff demands judgment against the Defendants, and each
 3   of them, for the violations of MUHAYMIN’s Constitutional and statutory rights as
 4   follows:
 5      1. For compensatory damages recoverable under A.R.S. §§ 12-611, et seq., and 14-
 6         311 in an amount of not less than Ten Million Dollars ($10,000,000) or such other
 7         amount as may be deemed fair and just by the trier of fact;
 8              a. Special damages include, but are not limited to, loss of income and
 9                 services, medical fees and expenses, and funeral and burial expenses,
10                 incurred on behalf of MUHAYMIN;
11              b. General damages include, but are not limited to, loss of consortium, pain
12                 and suffering, loss of enjoyment of life, and wrongful death;
13      2. For punitive damages against the individual Defendants in an amount to be
14         determined by the trier of fact;
15      3. For pre-judgment and post-judgment interest;
16      4. For attorneys’ fees and costs pursuant to 42 U.S.C. § 1988; and
17      5. For such other and further relief as the Court deems just and proper.
18
        Respectfully submitted this 16th day of January 2018.
19
                                                      PRICE LAW GROUP, APC
20
21                                                    /s/ David A. Chami
                                                      David A. Chami, AZ #027585
22
                                                      Attorney for Plaintiff
23
24
25
26
27
28



                                                 24
     Case 2:17-cv-04565-DLR Document 14-2 Filed 01/16/18 Page 25 of 25




 1                                       JURY DEMAND

 2         Plaintiff hereby demands trial by jury for all issues and claims raised in this

 3   Complaint.

 4         Respectfully submitted this 16th day of January 2018.
 5
                                                      PRICE LAW GROUP, APC
 6
 7                                                    /s/ David A. Chami
                                                      David A. Chami, AZ #027585
 8                                                    Attorney for Plaintiff
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                 25
